                   Case: 2:16-cr-00062-EAS Doc #: 34 Filed: 09/20/16 Page: 1 of 6 PAGEID #: 99
AO 245B (Rev.02/16) Judgmentin a CriminalCase
                     Sheet I




                                         United States District Court
                                                         Southern District of Ohio

              UNITED STATES OF AMERICA                                j JUDGMENT IN ACRIMINAL CASE
                                  V.                                  )
               MARCELLUSSHONDALE DUMAS                                >         Case Number: 2:16-CR-62
                                                                      )         USM Number: 75883-061
                                                                      )
                                                                      )          KRISTIN BURKETT
                                                                      )         Defendant's Attorney
THE DEFENDANT:
0 pleaded guilty tocount(s)            1 OF THE INDICTMENT
• pleaded nolo contendere to count(s)
    which was accepted by the court.
• was found guilty oncount(s)           ^
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of OITense                                                     Offense Ended            Count

I                                  Qonsplfacy tb                                     and Affecting '                               1
    and 924(a)                      Interstate Commerce



       The defendantis sentencedas provided in pages 2 through              °           of thisJudgment. The sentence is imposed pursuantto
the Sentencing Reform Act of 1984.
• The defendant hasbeen found not guiltyon count(s)
• Count(s)                                            0 is     • are dismissed on the motion ofthe United States.
        It isordered that thedefendant must notify theUnited States attorney forthis district within 30days ofany chaime of name, residence,
ormailingaddress until allfines, restitution, costs, andspecial assessments imposed bythis judgment arefully paid. Ifordered topay restitution,
the defendantmust notify the court and United States attorney of materialchanges in economic circumstances.
                                                                      9/15/2016
                                                                     Date of Imposition ofJudgment




                                                                     Signatureof Judj




                                                                      EDMUND A. SARGUS, JR., CHIEF JUDGE
                                                                     Name and Title ofJudge




                                                                     Date
                    Case: 2:16-cr-00062-EAS Doc #: 34 Filed: 09/20/16 Page: 2 of 6 PAGEID #: 100
AO 24SB (Rev. 02/16) Judgment in Criminal Case
                       Sheet 2 — Imprisonment
                                                                                                      Judgment —Page       2   of
DEFENDANT: MARCELLUS SHONDALE DUMAS
CASE NUMBER; 2:16-CR-62


                                                              IMPRISONMENT

           The defendant is hereby committed to thecustody of theFederal Bureau of Prisons to be imprisoned fora total
term of:

 42 MONTHS (to include time served)




     0     The court makes the following recommendations to the Bureauof Prisons:

 THE BUREA OF PRISONS SHALL UNDERTAKE A MENTAL HEALTH/ADDICTION EVALUATION OF THE DEFENDANT
  WHO SUFFERS FROM SEVERAL MAJOR MENTAL HEALTH DISORDERS.


     0     The defendant is remandedto the custody of the United States Marshal.

     •     The defendant shall surrender to the United States Marshal for this district:

           •   at                                 •    a.m.     •   p.m.        on
           •   as noticed by the United States Marshal.

     •     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           •   before 2 p.m. on                                            .
           •   as notified by the United States Marshal.

           •   as notified by the Probation or Pretrial ServicesOffice.


                                                                    RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 a                                                    , with a certified copyof thisjudgment.


                                                                                                   UNITED STATES MARSHAL




                                                                               By
                                                                                                DEPUTY UNITED STATES MARSHAL
                      Case: 2:16-cr-00062-EAS Doc #: 34 Filed: 09/20/16 Page: 3 of 6 PAGEID #: 101
A0 245B (Rev. 02/16)Judgmentin a CriminalCase
                     Sheet 3 — Supervised Release
                                                                                                              Judgment—Page     J    of
 DEFENDANT: MARCELLUS SHONDALE DUMAS
 CASE NUMBER: 2:16.CR-62
                                                             SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be onsupervised release fora term of:
 3 YEARS


               The defendant must report tothe probation office in the district towhich the defendant isreleased within 72 hours ofrelease from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 Thedefendant shall notunlawfully possess a controlled substance. Thedefendant shall refrain from any unlawful useof a controlled
 substance. Thedefendant shall sunmit to onedrugtest within 15 days of release from imprisonment andat least twoperiodic drug tests
 thereafter, as determined by thecourt.
 •    The above drug testing condition is suspended, based onthecourt's determination thatthedefendant poses a low risk of
            friture substance abuse. (Check, ifapplicable)

 12 The defendant shall not possess a firearm, ammunition, destructive device, or any otherdangerous weapon. (Check, ifapplicable.)
 0          The defendantshall cooperate in the collection of DNA as directed by the probationofficer. (Check, ifapplicable.)

 1-1        Thedefendant shall comply with the requirements of the Sex Offender Registration andNotification Act(42 U.S.C. § 16901, el seq.)
 ^          as directed bythe probation officer, theBureau of Prisons, or any statesexoffender registration agency in which heor she resides,
            works, is a student, or was convicted of a qualifying offense. (Check, ifapplicable.)

 •          The defendantshall participate in an approved program for domestic violence. (Check, ifapplicable.)
          If thisjudgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of thisjudgment.
          Thedefendant must comply withthestandard conditions thathavebeen adopted bythiscourtas wellas withanyadditional conditions
 on theattached page.
                                            STANDARD CONDITIONS OF SUPERVISION
       1)     the defendant shall not leave the judicial district without the pennission of the court or probation officer;
     2)       the defendantshall report to the probation officer in a mannerand frequency directed by the court or probationofficer;
     3)       the defendant shall answer truthfully all inquiriesby the probation officer and follow the instructionsof the probationofficer;
     4)       the defendant shall support his or her dependents and meet other family responsibilities;
     5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
              acceptable reasons;
     6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
              controlled substance or any paraphernalia related to anycontrolled substances, except as prescribed bya physician;
     8)       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9) the defendant shall notassociate with any persons engaged in criminal activity and shall not associate with any person convicted of a
              felony, unlessgranted permission to do so by the probationofficer,
     10) the defendantshall permit a probationofficer to visit him or her at any time at home or elsewhere and shall permitconfiscationof any
              contraband observed in plain view oftheprobation officer,
     11) thedefendant shall notifythe probation officerwithinseventy-two hoursofbeingarrestedor questioned by a lawenforcement officer;
     12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of thecourt; and
     13) as directed by theprobation officer, thedefendant shallnotify thirdparties of risks thatmaybe occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant^ compliance with such notification requirement.
                Case: 2:16-cr-00062-EAS Doc #: 34 Filed: 09/20/16 Page: 4 of 6 PAGEID #: 102
AO 245B {Rev. 02/16)Judgmentin a Criminal Case
         Sheet 3C—Supervised Release
                                                                           Judgment—Page       of

DEFENDANT: MARCELLUS SHONDALE DUMAS
CASE NUMBER: 2:16-CR-62


                                        SPECIAL CONDITIONS OF SUPERVISION
 1) THE DEFENDANT SHALL PARTICIPATE IN APROGRAM OF TESTING AND TREATMENT FOR ALCOHOL AND
 CONTROLLED SUBSTANCE ABUSE. AS DIRECTED BY THE U.S. PROBATION OFFICE, UNTIL SUCH TIME AS THE
 DEFENDANT IS RELEASE FROMTHE PROGRM BY THE PROBATION OFFICE. THE DEFENDANT WILL MAKE A
 CO-PAYMNET FOR TREATMENT SERVICES NOT TO EXCEED $25 PER MONTH, WHICH IS DETERMINED BY THE
 DEFENDANT'S ABILITY TO PAY.

 2) THE DEFENDANT SHALL PARTICIPATE IN APROGRAM OFMENTAL HEALTH ASSESSMENT AND/OR
 COUNSELING, AS DIRECTED BY THE UNITED STATES PROBATION OFFICE, UNTIL SUCH TIME AS THE
 DEFENDANT IS RELEASED FROM SUCH PROGRAM BYTHE PROBATION OFFICE. THE DEFENDANT WILL MAKE
 A CO-PAYMENT FOR TREATMENT NOT TO EXCEED $25 PER MONTH, WHICH IS DETERMINED BY THE
 DEFENDANT'S ABILITY TO PAY.
                       Case: 2:16-cr-00062-EAS Doc #: 34 Filed: 09/20/16 Page: 5 of 6 PAGEID #: 103
AO 245B (Rev. 02/16) Judgment in a Criminal Case
            Sheet 5 — Criminal Monetary Penalties
                                                                                                                         Judgment — Page             of

 DEFENDANT:                    MARCELLUS SHONDALE DUMAS
 CASE NUMBER:                    2:16-CR-62
                                                    CRIMINAL MONETARY PENALTIES

       The derendant must pay thetotal criminal monetary penalties under theschedule of payments on Sheet 6.

                               Assessment                                             Fine                                      Restitution
 TOTALS                    S    100.00



 •     The determination of restitution is deferred until                             An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.


 •     The defendantmust make restitution (including community restitution)to the following payees in the amount listed below.

       Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order orpercentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), allnonfederal victims must bepaid
       before the United States is paid.

     Name of Payee                                                                        Total Loss*                Restitution Ordered      Priority or Percentage




                               .fe-.




                                                     M,.'

             i J /.




                      V.                                .   ,      . . .....




                                                                                                                                                                 tv.

                                       ••   •




                                                                                                                                                          'fSl
                                                                                                            .   i-




 TOTALS                                                                0.00                $                             0.00



 •      Restitution amount ordered pursuant to plea agreement S

 •      The defendant must pay interest on restitution and a fine of more than S2,S00, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 •      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        •      the interestrequirement is waived for the           •           fine   •      restitution.
        •      the interest requirement for the        •    fine         •       restitution is modified as follows:

 * Findings forthetotalamountof lossesare required underChapters 109A, II0,11 OA, and 113A of Title 18foroffenses committed on or after
 September 13, 1994, but before April 23, 1996.
                Case: 2:16-cr-00062-EAS
AO 24SB (Rev.02/16)Judgmentin a Criminal Case Doc #: 34 Filed: 09/20/16 Page: 6 of 6                                PAGEID #: 104
          Sheet6 — Schedule of Payments
                                                                                                                Judgment — Page            of

DEFENDANT: MARCELLUS SHONDALE DUMAS
CASE NUMBER: 2:16-CR-62


                                                           SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties isdue as follows:
A     0     Lump sum payment of S             100.00              due immediately, balance due

            •     not later than                                       .or

            •     in accordance           •     C,     •    D,    •     E,or      •   F below; or

 B    •     Payment to begin immediately (maybe combined with                  • C,        • D, or      • F below); or
 C    •     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days)after the date of this judgment; or

 D    •     Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                          (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    •     Payment during the term of supervised release will commencewithin                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessmentof the defendant's ability to pay at that time; or

 F    •     Special instructions regarding the paymentof criminalmonetarypenalties:




 Unless thecourt has expressly ordered otherwise, ifthisJudgment imposes imprisonment, payment ofcriminal monetary penalties isdue during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons
 Inmate Financial Responsibility Program, are madeto the clerkof the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 •    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendantnumber). Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 •    The defendant shall pay the cost of prosecution.

 •    The defendant shall pay the following court cost(s):

 0    The defendant shall forfeit the defendant's interest in the following property to the United States:
          THE PROPERTY AS DESCRIBED IN FORFEITURE A OF THE INDICTMENT




 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including costof prosecution and court costs.
